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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF VIRGINIA
                      BIG STONE GAP DIVISION

UNITED STATES OF AMERICA                       )
                                               )
                                               )      Case No. 2:14CR00001-002
                                               )
v.                                             )      OPINION AND ORDER
                                               )
EMMANUEL LEE VESTAL,                           )      By: James P. Jones
                                               )      United States District Judge
                 Defendant.                    )

      Emmanuel Lee Vestal, Pro Se Defendant.

      The defendant, sentenced by this court in 2015 to 57 months imprisonment,

has filed a pro se motion requesting the court to reduce his sentence on the grounds

that he has been a “model inmate” and that the sentence imposed may have been

“too long or harsh.” Mot. 1, 2, ECF No. 705.

      A district court “may not modify a term of imprisonment once it has been

imposed unless the Bureau of Prisons moves for a reduction, the Sentencing

Commission amends the applicable Guidelines range, or another statute or Rule 35

expressly permits the court to do so.” United States v. Goodwyn, 596 F.3d 233, 35

(4th Cir. 2010) (internal quotation marks omitted).       Under Federal Rule of

Criminal Procedure 35(a), a district court “may correct a sentence that resulted

from arithmetical, technical, or other clear error” within 14 days of sentencing.

“[T]he scope of clear error correctable under Rule 35(a) is extremely narrow,”
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which comports with Congress’ intent “to promote openness and finality in

sentencing.”   United States v. Fields, 552 F.3d 401, 404–05 (4th Cir. 2009)

(internal quotation marks omitted).

      The defendant’s circumstances do not fall within any of these exceptions,

and thus the court is without the power to change his sentence. Accordingly, the

motion (ECF No. 705) is DENIED.



                                            ENTER: November 21, 2017

                                            /s/ James P. Jones
                                            United States District Judge




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